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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

DEUTSCHE BANK NATIONAL TRUST                 §
COMPANY, AS TRUSTEE FOR THE                  §
REGISTERED HOLDERS OF MORGAN                 §
STANLEY ABS CAPITAL I INC.                   §
TRUST 2007-NC4 MORTGAGE PASS                 §
THROUGH CERTIFICATES, SERIES                 §
2007-NC4,                                    §
                                             §
                  Plaintiff,                 §
                                             §
v.                                           §   CIVIL ACTION NO.14-CV-00931-LY
                                             §
RA SURASAK KETMAYURA AND                     §
YING KANOKTIP KETMAYURA,                     §
                                             §
                Defendants.                  §



        ADR REPORT PURSUANT TO W.D. TEX. LOCAL RULE CV-88(B) AND
               THE COURT’S SCHEDULING ORDER (DOC. NO. 36)

       Pursuant to Local Rule CV-88 and the Court’s Scheduling Order (Doc. No. 36), Plaintiff

Deutsche Bank National Trust Company, as Trustee for the Registered Holders of Morgan

Stanley ABS Capital I Inc. Trust 2007-NC4 Mortgage Pass Through Certificates, Series 2007-

NC4 (“Plaintiff”) and Defendants Ra Surasak Ketmayura and Ying Kanoktip Ketmayura

(collectively, “Defendants”) submit this ADR Report.

(1)    Status of Settlement Negotiations

       Counsel for Plaintiff and Defendants have engaged in settlement negotiations in this

matter. An offer is forthcoming from Defendants, and once it is received, it will be conveyed to

Plaintiff for consideration.




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(2)     Persons Responsible for Settlement Negotiations for Each Party

        Plaintiff’s counsel, Charles R. Curran, is the point of contact for settlement negotiations

for Plaintiff.

        Defendants’ counsel, Fred Walker, is the person responsible for settlement negotiation

for Defendants.

(3)     Evaluation of Appropriateness of Alternative Dispute Resolution

        The Parties believe that non-binding mediation may be an appropriate method of ADR if

Defendants’ forthcoming settlement offer is rejected.       The parties agree on the following

mediator to act as a neutral for any such non-binding mediation: Kenneth Davison, Lakeside

Mediation Center, 3825 Lake Austin Blvd., Suite 403, Austin, Texas 78703, (512) 477-9300.

The Parties will each pay for half of the mediator’s fee.


                                                      Respectfully submitted,


                                                     /s/ Charles R. Curran
                                                     Charles R. Curran
                                                     Texas Bar I.D. 24076334
                                                     ccurran@settlepou.com

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                                                     3333 Lee Parkway, Eighth Floor
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                                                     ATTORNEYS FOR PLAINTIFF

                                                     /s/ Fred E. Walker
                                                     Fred E. Walker
                                                     Fred E. Walker, P.C.
                                                     609 Castle Ridge Road, Suite 220
                                                     Austin, Texas 78746
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                                    Certificate of Service

      I certify that this document was served in accordance with the Federal Rules of Civil
Procedure on February 29, 2016, by the manner indicated upon the following persons:

        Via ECF
        Fred E. Walker
        Fred E. Walker, P.C.
        609 Castle Ridge Road, Suite 220
        Austin, Texas 78746
               Attorney for Defendants

                                               /s/ Charles R. Curran
                                               Charles R. Curran




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